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               NOTE: This order is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                      ______________________

      In re: SK HYNIX INC., SK HYNIX AMERICA INC.,
                         Petitioners
                   ______________________

                             2021-114
                      ______________________

        On Petition for Writ of Mandamus to the United States
    District Court for the Western District of Texas in No. 6:20-
    cv-00194-ADA, Judge Alan D. Albright.
                      ______________________

                          ON MOTION
                      ______________________

                            ORDER

        Before DYK, BRYSON, and TARANTO, Circuit Judges.
    TARANTO, Circuit Judge.
        In March 2020, Netlist, Inc. sued SK hynix Inc. and SK
    hynix America Inc. (collectively, “SK hynix,” unless other-
    wise indicated) in the Western District of Texas, asserting
    infringement of U.S. Patent Nos. 9,858,218 and 10,474,595.
    In early May, SK hynix moved to transfer venue to the Cen-
    tral District of California, and the papers were complete by
    the end of May. In January 2021, with no ruling having
    been issued, SK hynix sought mandamus from this court to
    compel transfer.        We ordered that district court
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    proceedings be stayed until the district court ruled on the
    transfer motion in a reviewable opinion. In re SK hynix
    Inc., No. 2021-113, 2021 WL 321071 (Fed. Cir. Feb. 1,
    2021). The next day, the district court denied the transfer
    motion, issuing an opinion that explains why. Appx647–
    63. SK hynix now petitions for mandamus again. We deny
    the petition, concluding that SK hynix has not shown that
    the district court clearly abused its discretion.
                                  I
                                  A
        Netlist and SK hynix have opposed each other on a
    number of Netlist patents in several forums, including the
    International Trade Commission and the Patent Trial and
    Appeal Board (PTAB). At present, four district-court ac-
    tions by Netlist against SK hynix are pending, each includ-
    ing claims for patent infringement and a counterclaim for
    breach of contract. Two are in the Central District of Cali-
    fornia; the present case and one other (consolidated with
    this one) are in the Western District of Texas.
         Several years before filing the Texas actions, Netlist
    filed two actions against SK hynix in the Central District
    of California. In the first, filed on August 31, 2016, Netlist
    alleged that SK hynix infringed six patents, including U.S.
    Patent No. 8,489,837, by manufacturing, selling, or using
    certain memory modules. Appx196–215 (Case No. 8:16-cv-
    01605) (California I). SK hynix counterclaimed, alleging
    that Netlist breached a contractual commitment to offer li-
    censes to a portfolio of Netlist patents, on reasonable and
    nondiscriminatory (RAND) terms, to implementers of
    memory-module standards of the Joint Electronic Device
    Engineering Council (JEDEC). Appx229–49. Netlist filed
    a second suit against SK hynix in the same forum on June
    14, 2017, alleging that SK hynix infringed two other pa-
    tents, including U.S. Patent No. 9,535,623, which issued
    from a continuation of the application that issued as the
    ’837 patent.     Appx298–310 (Case No. 8:17-cv-01030)
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    (California II). SK hynix asserted the same JEDEC-based
    contract counterclaim. Appx344–51.
        Both California actions were fully stayed in February
    2018, by which time challenges to patentability in the
    PTAB were underway. In 2018 and 2019, in a number of
    decisions, the PTAB ruled unpatentable all the patent
    claims asserted in California I & II. See Pet. at 8; Appx80–
    82; SAppx884–85. Besides the PTAB decision involving
    the ’623 patent, the unpatentability decisions were final
    and unreviewable before March 2020. Netlist appealed the
    decision involving the ’623 patent (raising only an Appoint-
    ments Clause challenge in its short January 2020 brief) but
    dropped its appeal on June 25, 2020, after the present case
    was filed (and motion for transfer briefed). Although SK
    hynix suggests that Netlist “could attempt to amend its
    complaint or infringement contentions” in California I & II
    to assert previously unasserted claims of the patents at is-
    sue in those cases, Reply at 4, all the patent claims asserted
    in those actions are now due to be cancelled under 35
    U.S.C. § 318(b). California I & II remain pending but in-
    active.
        In the present action, filed on March 17, 2020, Netlist
    alleged that SK hynix, through its manufacture, use, and
    sale of the same memory modules as those at issue in the
    California actions, was infringing the ’218 and ’595 pa-
    tents. Appx27–42 (Case No. 6:20-cv-00194). Those patents
    issued from continuations of the application that issued as
    the ’837, and thus are in the same family as the ’837 and
    ’623 patents in the California actions, and Netlist alleged
    that they are essential to practice of JEDEC standards.
    Appx27. SK hynix asserted a JEDEC-based RAND con-
    tract counterclaim. Appx478–501. 1



    1  On June 15, 2020, Netlist filed another action against
    SK hynix in the same Texas forum, asserting infringement
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                                   B
         On May 4, 2020, SK hynix moved to transfer the pre-
    sent case to the Central District of California. Notably, SK
    hynix moved to transfer the entire case. It neither sought
    severance of SK hynix Inc. (a foreign entity, to which the
    venue requirement of 28 U.S.C. § 1400(b) is inapplicable)
    nor sought transfer of the case against SK hynix Inc. even
    if there was no transfer of the case against SK hynix Amer-
    ica, Inc. (a domestic entity subject to § 1400(b), with head-
    quarters in the Northern District of California). On
    February 2, 2021, the day after our February 1 mandamus
    order, the district court denied transfer. Appx647–63. The
    court rejected the two arguments that SK hynix presses
    now: that the first-to-file rule and 28 U.S.C. § 1404(a) re-
    quire transfer to the Central District of California. 2
        As to the first-to-file rule: The court initially concluded
    that the rule is inapplicable because SK hynix had no pres-
    ence in the Central District of California sufficient for
    venue under 28 U.S.C. § 1400(b), so the present case could



    of U.S. Patent No. 10,217,523. Appx61–73 (Case No. 6:20-
    cv-00525). That patent, though not in the same family as
    the ’218, ’595, ’837, and ’623 patents, is in the same family
    as three other patents that were asserted in California I
    (all of whose asserted claims were held unpatentable by the
    PTAB in now-final rulings). With SK hynix’s agreement,
    the two Texas actions were consolidated, Appx649, and the
    parties stipulated that a ruling on transfer in the present
    action “shall be binding upon and have the same effect” in
    the second Texas action, Appx565.
    2    28 U.S.C. § 1404(a) reads: “For the convenience of par-
    ties and witnesses, in the interest of justice, a district court
    may transfer any civil action to any other district or divi-
    sion where it might have been brought or to any district or
    division to which all parties have consented.”
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    not “have been brought” in that forum within the meaning
    of § 1404(a). Appx651 n.2. (This analysis focused on U.S.-
    entity SK America Inc., because the motion sought transfer
    only of the entire case, not of the case against foreign-entity
    SK hynix Inc. alone.) The court explained that SK hynix
    had cited no authority supporting use of the first-to-file
    rule to compel a transfer that would flunk § 1404(a)’s
    threshold requirement for the transferee forum—that the
    case “might have been brought” there or “all parties have
    consented” to adjudicating the case there. Appx651 n.2.
         In any event, the court concluded, considerations of
    “extent of overlap,” “likelihood of conflict,” and “compara-
    tive advantage and the interest of each forum in resolving
    the dispute” made transfer under the first-to-file rule un-
    warranted. Appx651–54. Regarding overlap, the court
    stated that “[t]ransfer under the first-to-file rule requires
    far more than patents from the same family, same parties,
    and same accused products,” and it discounted SK hynix’s
    reliance on its RAND counterclaims because “there are no
    viable RAND claims pending in the California cases con-
    cerning the ’837 or ’623 patent” given that “the PTAB has
    already invalidated both patents.” Appx652. For that for-
    ward-looking reason, and given that the district judge in
    California I & II stayed those cases before taking any sig-
    nificant merits actions, the court determined that there
    was little chance of conflict should transfer of the present
    case be denied. Appx652–53. The court also compared the
    two forums’ involvement in the case—including its own in-
    volvement after the filing of the motion to transfer—and
    found no comparative advantage or interest of the Califor-
    nia forum. Appx653–54. On those bases, the court con-
    cluded: “all three factors weigh against transfer under the
    first-to-file rule.” Appx654.
        As to transfer under § 1404(a): The court explained
    that SK hynix failed to establish “the threshold require-
    ment,” namely, either that the present action “might have
    been brought” in the Central District of California (where
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    SK hynix America Inc. lacks the presence required by
    § 1400(b)) or that “all parties have consented” to that venue
    for this action, § 1404(a). See Appx656. The court noted
    that SK hynix did not dispute the inapplicability of the
    “might have been brought” basis, but relied only on the al-
    ternative threshold basis, arguing that “all parties have
    consented” to venue in the Central District of California
    over the present case. Id. (internal quotation marks omit-
    ted). The district court rejected that contention. It noted
    Netlist’s objection to the current transfer motion and ob-
    served that SK hynix had “cited no mandatory or persua-
    sive authority to show that by filing suits in CDCA [the
    Central District of California] . . . , Netlist has automati-
    cally consented to venue in that district for any following
    suits involving different patents.” Id.
         In the alternative, the court analyzed the public- and
    private-interest factors relevant under § 1404(a). It con-
    cluded that SK hynix had not shown that the Central Dis-
    trict of California is “‘clearly more convenient’” than the
    Western District of Texas. Appx657. Specifically, the court
    determined that four factors weighed against transfer and
    four factors were neutral. Appx661. For example, the
    court determined that SK hynix had no presence in the
    Central District of California, but it did have an office and
    a major customer in the Texas forum; that SK hynix had
    no documents in the California forum; that two former
    Netlist employees (an inventor and licensing officer), who
    are potential witnesses and who allegedly live in the Cali-
    fornia forum, were not shown to be unwilling to testify vol-
    untarily; the costs of attending proceedings are not
    materially different between the forums; that, although
    Netlist is headquartered in the California forum, Netlist
    itself took that into account in choosing the Texas forum;
    and that the Texas forum is likely to be faster in adjudicat-
    ing the matter. Appx657–60. The court also again cited its
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    own experience with the case since the filing and briefing
    of the motion to transfer. Appx660. 3
        SK hynix petitioned for mandamus. SK hynix also
    moved for a stay of the proceedings because the district
    court sua sponte moved the claim-construction hearing
    scheduled for March 18, 2021, to March 1, 2021, and ad-
    vanced the trial date.
                                  II
         Under the All Writs Act, federal courts “may issue all
    writs necessary or appropriate in aid of their respective ju-
    risdictions and agreeable to the usages and principles of
    law.” 28 U.S.C. § 1651(a). “In general, three conditions
    must be satisfied for a writ to issue: (1) the petitioner must
    demonstrate a clear and indisputable right to issuance of
    the writ; (2) the petitioner must have no other adequate
    method of attaining the desired relief; and (3) the court
    must be satisfied that the writ is appropriate under the cir-
    cumstances.” In re Apple Inc., 979 F.3d 1332, 1336 (Fed.
    Cir. 2020) (citing Cheney v. U.S. Dist. Ct. for D.C., 542 U.S.
    367, 380–81 (2004)). We ask whether the denial of transfer
    was such a “‘clear’ abuse of discretion” that refusing trans-
    fer would produce a “‘patently erroneous result.’” In re TS
    Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008); see
    also In re Apple, 979 F.3d at 1336; In re Nitro Fluids,
    L.L.C., 978 F.3d 1308, 1310–11 (Fed. Cir. 2020). Under
    Fifth Circuit law, where a decision applies transfer rules,
    we must deny mandamus unless it is clear “that the facts
    and circumstances are without any basis for a judgment of
    discretion.” In re Volkswagen of America, Inc., 545 F.3d
    304, 317 n.7 (5th Cir. 2008) (en banc), quoted in In re EMC



    3  The district court denied SK hynix’s alternative re-
    quest to transfer the case from the Waco division to the
    Austin division of the Western District of Texas. Appx662.
    SK hynix does not challenge that ruling here.
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    Corp., 501 F. App’x 973, 975 (Fed. Cir. 2013). We do not
    find the required clear abuse resulting in a patently erro-
    neous result.
                                  A
         As to § 1404(a), we see no clear abuse regarding the
    district court’s determination that SK hynix did not meet
    the threshold requirement for transfer under the statute.
    SK hynix did not differentiate between the foreign and do-
    mestic SK hynix entities for purposes of its transfer mo-
    tion. The district court properly focused on whether the
    present action “might have been brought” against the do-
    mestic entity and whether, in the alternative, “all parties
    have consented” to venue in the Central District of Califor-
    nia. It concluded that neither alternative basis for a
    § 1404(a) transfer is met. SK hynix has not established a
    clear legal right to relief from those conclusions, which suf-
    fice to deny transfer.
        When the statute contained only the “might have been
    brought” alternative, the Supreme Court explained: “[W]e
    do not see how the conduct of a defendant after suit has
    been instituted can add to the forums where it might have
    been brought. In the normal meaning of words this lan-
    guage of Section 1404(a) directs the attention of the judge
    who is considering a transfer to the situation which existed
    when suit was instituted.” Hoffman v. Blaski, 363 U.S.
    335, 343–44 (1960) (cleaned up). The Supreme Court also
    cautioned against an interpretation of § 1404(a) that per-
    mitted transfer based on the “wish or waiver of the defend-
    ant.” Id. The current language of § 1404(a) reinforces the
    understanding that the “might have been brought” alter-
    native is not met by the defendant asserting that it would
    consent to venue in the proposed transferee forum. After
    Hoffman was decided, Congress amended § 1404(a) to add
    that a district court may transfer venue “to any district or
    division to which all parties have consented.” (emphasis
    added). SK hynix has not shown a clear right to have the
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    “might have been brought” standard applied other than by
    applying the governing venue statutes for reaching a de-
    fendant without consent.
         Here, SK hynix has not shown error in the district
    court’s conclusion that 28 U.S.C. § 1400(b) governs venue
    over SK hynix America Inc. in this case and does not sup-
    port venue. Under § 1400(b), venue is proper “in the judi-
    cial district where the defendant resides, or where the
    defendant has committed acts of infringement and has a
    regular and established place of business.” SK hynix
    America Inc. is a California corporation with its principal
    place of business in the Northern District of California,
    Appx95–96, and it resides there, not in the Central District
    of California, see In re BigCommerce, Inc., 890 F.3d 978,
    986 (Fed. Cir. 2018) (“[W]e hold that for purposes of deter-
    mining venue under § 1400(b) in a state having multiple
    judicial districts, a corporate defendant shall be considered
    to ‘reside’ only in the single judicial district within that
    state where it maintains a principal place of business, or,
    failing that, the judicial district in which its registered of-
    fice is located.”). And SK hynix has not pressed any argu-
    ment that SK hynix America Inc. has “a regular and
    established place of business” in the Central District of Cal-
    ifornia. For that reason, SK hynix has not shown clear
    abuse in the district court’s conclusion that this is not an
    action that “might have been brought” against SK hynix in
    that district. 4



    4   Nor has SK hynix established that § 1404(a), which is
    written in terms where the “action” sought to be trans-
    ferred might have been brought, is clearly satisfied if the
    same claims might have been presented by amending a
    complaint in an earlier action, especially if there was no
    right to amend. Cf. Phillips Petroleum Co. v. Fed. Energy
    Admin., 435 F. Supp. 1234, 1238 (D. Del. 1977) (“Th[e] de-
    pendence on other parties and a Court’s discretion is
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          We also see no basis for disturbing, on this mandamus
     petition, the district court’s conclusion that SK hynix also
     failed to establish applicability of the alternative threshold
     basis for a § 1404(a) transfer—namely, that all parties
     have consented to venue over this action in the Central Dis-
     trict of California. Netlist has objected, not consented, to
     such venue over this “action,” § 1404(a). And SK hynix has
     identified no legal authority establishing a clear legal right
     to an inference of consent as to this action from Netlist’s
     conduct regarding other actions, including its filing of Cal-
     ifornia I & II in the Central District of California.
         In these circumstances, the district court did not
     clearly abuse its discretion causing a patently erroneous
     result when it determined that SK hynix did not meet the
     threshold conditions for transfer under § 1404(a). We need
     not separately review whether the district court clearly
     abused its discretion, causing a patently erroneous result,
     in applying the multi-factor analysis under that provision.
                                   B
         As to the first-to-file rule, we conclude that the stand-
     ard for mandamus relief is not met for the same reason.
     Specifically, SK hynix has not shown a clear legal right to
     a transfer under the first-to-file rule to a federal forum that
     could not be a transferee forum under the threshold re-
     quirements of § 1404(a).
         The Supreme Court has long recognized that § 1404(a)
     modified common-law principles involving transfer be-
     tween federal forums. See Norwood v. Kirkpatrick, 349
     U.S. 29, 32 (1955) (“When Congress adopted § 1404(a), it
     intended to do more than just codify the existing law on


     inconsistent with Hoffman v. Blaski, supra, and its prog-
     eny which teach that a party must have a right to be in the
     transferee forum before transfer to that forum can be or-
     dered.”).
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     forum non conveniens. . . . Congress, in writing § 1404(a),
     which was an entirely new section, was revising as well as
     codifying.”); cf. Van Dusen v. Barrack, 376 U.S. 612, 616
     (1964) (noting that the “transfer power is . . . expressly lim-
     ited by the final clause of § 1404(a) restricting transfer to
     those federal districts in which the action ‘might have been
     brought’”). The first-to-file doctrine certainly has not been
     displaced, where § 1404(a)’s threshold conditions are met,
     as a tool affecting the customary multi-factor analysis of
     convenience and interests of justice. See In re Nitro Fluids,
     978 F.3d at 1311. But it is a different question whether
     there is a legal right under the first-to-file rule to compel a
     transfer between federal forums when § 1404(a)’s thresh-
     old conditions are not met.
          SK hynix has not shown that there is a clear right to
     use the first-to-file rule in that way. The Ninth Circuit has,
     in fact, answered that question against SK hynix’s position.
     It has concluded: “A contrary understanding of the interac-
     tion between the first-to-file rule and § 1404(a) would allow
     a judge-made doctrine to contravene a congressionally en-
     acted statute—a result that the Supreme Court has made
     clear we cannot countenance.” In re Bozic, 888 F.3d 1048,
     1054 (9th Cir. 2018). SK hynix has identified no contrary
     authority.
          SK hynix cites Cadle Co. v. Whataburger of Alice, Inc.,
     174 F.3d 599 (5th Cir. 1999), but that decision is not to the
     contrary. In that case, involving review of a dismissal un-
     der the first-to-file rule, the Fifth Circuit concluded that
     the court with the second-filed case, in considering applica-
     tion of the first-to-file rule, need not decide whether the
     court with the first-filed case had jurisdiction over the first-
     filed case—a question, the Fifth Circuit ruled, that is
     properly left to the court with the first-filed case in front of
     it. Id. at 605. In contrast, the present matter involves the
     court with the second-filed case deciding whether the sec-
     ond-filed case (the one in front of it) could have been
     brought in the court with the first-filed case. Cadle does
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     not address that question, which is a question that
     § 1404(a) affirmatively directs the court with the second-
     filed case to consider.
          We conclude that SK hynix has not shown a clear legal
     entitlement to a different conclusion from the one the dis-
     trict court reached as to what is one sufficient basis on
     which the district court rejected transfer under the first-to-
     file rule. We need not separately address the district
     court’s analysis of the non-threshold factors for application
     of the rule. This conclusion hardly leaves the two district
     courts at issue, in Texas and California, without means, in-
     cluding stays, to try to fulfill the first-to-file rule’s objective
     of avoiding “inconsistent judgments or waste of party and
     judicial resources.” In re: VoIP-Pal.com, Inc., No. 2021-112,
     2021 WL 650626, at *2 (Fed. Cir. Feb. 19, 2021).
           IT IS ORDERED THAT:
              (1) The petition is denied
              (2) The motion to stay is denied.




                                         FOR THE COURT

             February 25, 2021           /s/ Peter R. Marksteiner
                  Date                   Peter R. Marksteiner
                                         Clerk of Court


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